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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                      CASE NO.: 20-cv-22471-GAYLES/Otazo-Reyes


  NORTH AMERICAN SUGAR INDUSTRIES INC.,

              Plaintiff,

  v.

  XINJIANG GOLDWIND SCIENCE & TECHNOLOGY
  CO., LTD., GOLDWIND INTERNATIONAL
  HOLDINGS (HK) LTD., DSV AIR & SEA INC.,
  BBC CHARTERING USA, LLC, and
  BBC CHARTERING SINGAPORE PTE LTD.,

        Defendants.
                                                  /



                  DEFENDANTS’ MOTION TO DISMISS COMPLAINT
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          Defendants Goldwind International Holdings (HK) Ltd. (“Goldwind International”), DSV

   Air & Sea Inc. (“DSV US”), BBC Chartering USA, LLC and BBC Chartering Singapore PTE

   Ltd. (together, “BBC” and collectively with Goldwind International and DSV US,

   “Defendants”), 1 pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) and this

   Court’s Notice of Court Practice (ECF No. 4), move the Court for the entry of an Order

   dismissing the Complaint filed by North American Sugar Industries Inc. (“Plaintiff”) for lack of

   subject-matter jurisdiction and failure to state a claim upon which relief can be granted.2

                                          INTRODUCTION

          The basis of Plaintiff’s suit is Title III of the Cuban Liberty and Democratic Solidarity

   (LIBERTAD) Act. See 22 U.S.C. § 6021, et seq. (the “Act” or “Title III”). The Act, which until

   May 2019 had been suspended since its enactment nearly twenty-five years ago, creates a

   statutory cause of action for Americans who own claims to confiscated Cuban property against a

   person who “traffics . . . knowingly and intentionally” in that property. Id. §§ 6023(13), 6082(a).

   The Act grants the President the ability to suspend the right to bring an action under it for

   successive six-month periods. Id. § 6085(c). Shortly after the Act was enacted in March 1996,

   President Clinton suspended the right to bring an action under Title III and renewed the

   suspension during the remainder of his presidency. Presidents Bush and Obama did the same for

   each succeeding six-month period thereafter. President Trump continued the suspension, for a

   time. Then, more than two decades after the Act’s passage, on May 2, 2019, the suspension of

   the right to bring a Title III action was permitted to expire. Plaintiff now seeks to recover from

   each Defendant extraordinary statutory damages (which have never previously been awarded in

   1
          As of the date of the filing of this Motion, Xinjiang Goldwind Science & Technology
   Co., Ltd. has not been served.
   2
          Each Defendant is also separately and contemporaneously filing a Motion to Dismiss for
   Lack of Personal Jurisdiction.
                                                 1
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   any other case) for purported trafficking in Plaintiff’s confiscated property and for conspiring to

   do precisely the same. See Compl. ¶¶ 189–245. Plaintiff’s case, however, should be dismissed

   for at least four independent reasons.

          First, Plaintiff lacks standing under Article III of the United States Constitution because

   Plaintiff does not – and cannot – allege an injury in fact that is fairly traceable to any

   Defendant’s conduct.

          Second, aside from this threshold issue of Article III standing, Plaintiff is judicially

   estopped from pursuing these claims, and lacks standing to do so, because of its recent federal

   bankruptcy proceedings.     Last year, Plaintiff, along with its parent companies and thirteen

   additional co-debtors, successfully exited their “pre-packaged,” jointly-administered Chapter 11

   bankruptcy case (the “Bankruptcy Case”) filed in the United States Bankruptcy Court for the

   District of Delaware (the “Bankruptcy Court”) by obtaining that court’s confirmation of a

   bankruptcy reorganization plan (the “Reorganization Plan”). In the Bankruptcy Case, Plaintiff

   did not disclose or identify as assets either the certified claim from the Foreign Claims

   Settlement Commission (“FCSC”) (the “Certified Claim,” now attached to Plaintiff’s Complaint

   as Exhibit 1) or any cause(s) of action under the Act or for conspiring to do the same

   (collectively, the “HBA Related Claims”). In this action, however, Plaintiff now takes the

   position that it owns such assets and is therefore entitled to damages allegedly in excess of the

   disclosed going concern and asset-liquidation values of itself and all its former co-debtors

   combined. Given these circumstances, Plaintiff is judicially estopped from pursuing its claims in

   this Court.   In addition, the asset-vesting terms and reservation-of-rights provisions of the

   Reorganization Plan provided neither notice that Plaintiff owned the Certified Claim or the HBA

   Related Claims nor any indication of their value to creditors. Because Plaintiff failed to disclose

   ownership of these assets, and affirmatively swore that Plaintiff owned no litigation claims or

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   other assets, the Bankruptcy Court was deprived of the ability to administer these assets (i.e., of

   the ability to do its job), and therefore, Plaintiff’s Certified Claim and HBA Related Claims

   remain the property of Plaintiff’s estate and are exclusively within the Bankruptcy Court’s

   jurisdiction. Plaintiff thus lacks standing to bring the HBA Related Claims, and this Court lacks

   subject-matter jurisdiction.

          Third, the Complaint does not contain any factual allegations that Defendants knowingly

   and intentionally trafficked in the “Confiscated Property” (as defined in the Complaint). While

   the Complaint alleges facts regarding trafficking in Puerto Carupano – one of the dozens of

   assets that make up the “Confiscated Property” – there are no allegations that Defendants

   trafficked in the broader “Confiscated Property” that Plaintiff alleges is valued at $97.37 million

   (as opposed to Puerto Carupano’s valuation of just over $2 million). To state a claim for relief,

   Title III requires facts showing that Defendants engaged in commercial activity using or

   otherwise benefiting from confiscated property. The Complaint fails to allege any facts that

   these Defendants engaged in any activity where they used or benefitted from any confiscated

   property other than Puerto Carupano. The Complaint thus fails to state a claim that Defendants

   trafficked in the “Confiscated Property.”

          Fourth, the Act mandates that a plaintiff may not bring a cause of action under Title III

   and also bring an independent common-law claim, such as the claim of civil conspiracy alleged

   here. Plaintiff’s Complaint does exactly that, and thus violates the express language of the Act

   and should be dismissed.

                                     FACTUAL BACKGROUND

          I.      The Cuban Government’s Confiscation of Plaintiff’s Properties and Assets

          Plaintiff, through a number of subsidiary companies, allegedly once owned various real

   and personal property as well as a variety of intangible assets in Cuba “relating to the production,

                                                    3
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   refining, and transportation of raw sugar.” Compl. ¶¶ 19, 64; id. at Ex. 1, at 2. Plaintiff alleges

   that in 1960 the Castro regime confiscated these various related companies and their properties

   and assets located across the island nation (the “Confiscated Property”). Id. ¶ 3. According to

   Plaintiff’s allegations and the Certified Claim issued by the FCSC,3 the Confiscated Property

   ranged from harvested lands, windmills, and warehouses, to trucks, plows, work animals, cash,

   and small tools. See generally id. at Ex. 1. The Confiscated Property also included accounts

   receivable, livestock, breeding mares, inventory of planting and growing cane, marine

   equipment, harvested crops, unharvested crops, factory pumps, electric motors, a carpenter shop,

   an evaporating plant, wharves, unexpired insurance, railroad tracks, railroad stations, telephone

   systems, and turbogenerators, among other assets. Id. The tangible assets were physically

   located in at least four different Cuban provinces. Id. One of the dozens of assets allegedly

   confiscated by the Cuban government was Puerto Carupano (referred to in the Complaint as the

   “Confiscated Port”),4 a commercial shipping port located in Cayo Juan Claro, Cuba. Id. ¶¶ 65–

   66.

          On March 26, 1969, the FCSC – a body given jurisdiction over claims of U.S. nationals

   against the Government of Cuba, see id. at Ex. 1, at 1 – issued the Certified Claim, finding that

   the total value of the Confiscated Property that Plaintiff lost as a result of the actions of the

   3
           Plaintiff defines “Confiscated Property” in its Complaint to include the dozens of assets
   individually listed and valued in the Certified Claim attached as Exhibit 1 to the Complaint.
   Compl. ¶ 64 (“Exhibit 1 (attached hereto) includes a more detailed description of the Confiscated
   Property and its value.”). The Court may consider Exhibit 1 to the Complaint at the motion to
   dismiss stage. Fed. R. Civ. P. 10(c) (“A copy of a written instrument that is an exhibit to a
   pleading is a part of the pleading for all purposes.”); see also Indulgence Yacht Charters Ltd. v.
   Ardell Inc., No. 08-60739-CMA, 2008 WL 4346749, at *4 (S.D. Fla. Sept. 16, 2008) (“[W]hile
   courts accept the facts in a complaint as true in considering a motion to dismiss, they can
   be trumped by contradictory facts presented in an exhibit or attachment to the pleading.”).
   4
           Puerto Carupano is also referred to as “Port of Cayo Juan Claro.” Compl. ¶ 65. In the
   Certified Claim, Port of Cayo Juan Claro is listed as part of the Confiscated Property on page 14.
   Id. at Ex. 1, at 14.
                                                    4
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   Cuban government was $97,373,414.72. Id. at Ex. 1, at 21. The Certified Claim shows that only

   $2,228,000 of the $97.37 million value of the Confiscated Property is attributable to Puerto

   Carupano. See id. at Ex. 1, at 14.

          II.     Defendants’ Alleged “Trafficking” in Plaintiff’s Confiscated Property

          According to the Complaint, “[a] host of Cuban state-owned entities” are currently

   “involved in the planning, construction, and implementation” of “one of Cuba’s largest ongoing

   public works projects,” known as the “Herradura Wind Farm Project.” Compl. ¶¶ 82, 86.

          Plaintiff alleges that Defendants trafficked in Puerto Carupano in late 2018 and early

   2019 by “coordinat[ing] at least two separate voyages that delivered and unloaded equipment

   [from China] at [Puerto Carupano], by way of Florida, for use in the Herradura Wind Farm

   Project.” Id. ¶¶ 103, 198–203, 216–17, 230–33. Goldwind International, along with other non-

   party, unnamed suppliers, is alleged to have manufactured, sold, and “shipped wind farm

   equipment to a Cuban state-owned entity associated with the project” that was ultimately

   “unloaded at Puerto Carupano.” Id. ¶ 5. DSV US, in turn, is alleged to have “provided

   transportation and logistical services to these suppliers in order to ship their wind farm

   equipment to Cuba via Puerto Carupano.” Id. Lastly, BBC’s is alleged to have “chartered and

   operated shipping vessels that carried and unloaded wind farm equipment.” Id.

          Plaintiff’s Complaint alleges two deliveries to Puerto Carupano that occurred on separate

   vessels: the BBC Moonstone and the BBC Jade. Id. ¶¶ 104–83.5 With respect to the alleged

   delivery via the BBC Moonstone, Plaintiff alleges that DSV US was engaged to coordinate this

   delivery of windfarm equipment to Puerto Carupano. Id. ¶¶ 104–109, 113. BBC, in turn, is

   alleged to have been “charged with operating and chartering the BBC Moonstone for shipment”



   5
         For DSV US and Goldwind International, the Complaint alleges they trafficked in Puerto
   Carupano for one of these two voyages, not both. Compl. ¶¶ 106, 109, 155–56.
                                                  5
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   of the equipment to Puerto Carupano. 6 Id. ¶¶ 111, 115. The BBC Moonstone purportedly

   completed this delivery in February 2019. Id. ¶ 139.

          The other delivery to Puerto Carupano was allegedly made by the BBC Jade. Id. ¶ 154.

   The Complaint specifically alleges that a non-party to this action was the supplier of the wind

   farm equipment delivered on this vessel. Id. ¶ 155. In fact, the only party to this suit alleged to

   have been involved in the delivery of the equipment on the BBC Jade is BBC, which was

   purportedly completed in January 2019. Id. ¶¶ 155–57, 174. Aside from these early 2019

   deliveries, Plaintiff conclusorily alleges that other shipments from Goldwind International have

   been delivered to Puerto Carupano, but provides no further details beyond that one such

   shipment is alleged to have occurred on or about December 14, 2018. Id. ¶¶ 184–85, 188.

          With regard to the BBC Moonstone and the BBC Jade delivering the equipment to Puerto

   Carupano “by way of Florida,” Plaintiff alleges merely that during one voyage, the BBC

   Moonstone arrived at and departed from the Port of Miami on the same day, id. ¶¶ 135, 138, and

   during the other voyage, the BBC Jade arrived at the Port of Miami one day and departed the

   next. Id. ¶¶ 170, 173. Plaintiff also alleges that several days after leaving the Port of Miami, the

   vessels “stopped at the [Puerto Carupano] in Cuba to unload the wind farm equipment” destined

   for the Herradura Wind Farm Project. Id. ¶¶ 143, 177.

          There are no factual allegations about Defendants trafficking in the Confiscated Property

   as opposed to the Confiscated Port. Indeed, other than Puerto Carupano, the Complaint does not

   allege that Defendants trafficked in any of the various warehouses, farms, equipment, crops,

   railroads, or many other properties and assets confiscated by the Cuban government and defined

   as the Confiscated Property.



   6
           The BBC Moonstone also allegedly delivered equipment for the Herradura Wind Farm
   Project shipped by another entity entirely unrelated to Goldwind International. Compl. ¶ 107.
                                                    6
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           III.    Plaintiff’s Recent Bankruptcy Proceedings

           Some sixty years after the Castro regime seized the Confiscated Property, on April 1,

   2019, Plaintiff and its parent companies and thirteen additional co-debtors (collectively, the

   “Hexion Debtors”) filed voluntary petitions for relief under Chapter 11 of Title 11 of the United

   States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).7 See generally Holbert Decl.

   Ex. A, at Exs. BA-1–BA-4. The Hexion Debtors were owned pre-bankruptcy by highly

   sophisticated investors and were represented during the bankruptcy proceedings by legal counsel

   Latham & Watkins LLP and Richards, Layton & Finger, P.A.; by financial advisor Moelis &

   Company; and by restructuring advisor AlixPartners. Id. at Exs. BA1-BA-4, BA-14, BA-17.

           As part of its bankruptcy proceedings, Plaintiff was required to disclose to the

   Bankruptcy Court and creditors its assets, liabilities, and the status of its financial affairs. See id.

   at Exs. BA-5, BA-9. None of the documents submitted by Plaintiff to the Bankruptcy Court and

   its creditors, however, ever mentioned the Certified Claim or the HBA Related Claims. See id.;

   see also id. at Exs. BA-6–BA-8, BA-10–BA-12. The Hexion Debtors instead advanced the

   position that Plaintiff either (a) possessed no litigation claims or (b) could not identify and list

   7
           For the Court’s convenience and ease of reference, the Bankruptcy Pleading Appendix
   annexed to the Declaration of Lynn W. Holbert (the “Holbert Decl.”), attached to this Motion as
   Exhibit “A,” includes an index of the titles and defined terms used for each pleading referenced
   herein, as well as copies of each relevant pleading from the bankruptcy cases of each of the
   Hexion Debtors, obtained from the publicly available docket maintained by the Bankruptcy
   Court. Defendants respectfully request that the Court take judicial notice of Bankruptcy Case
   filings enumerated in the Bankruptcy Pleading Appendix. In the Eleventh Circuit, “‘a district
   court may consider judicially noticed documents’ . . . at any stage of the proceeding.” Griffin v.
   Verizon Commc’ns Inc., 746 F. App’x 873, 876 (11th Cir. 2018). “Courts typically take judicial
   notice of record documents from other judicial proceedings.” Id. (citations omitted) (holding
   that district court properly took judicial notice of other court filings in considering a Rule 12
   motion because “[t]he documents submitted by [defendant] are from the public dockets of
   federal judicial proceedings. That being the case, they are not subject to reasonable dispute, and
   the district court did not err by taking judicial notice of them”). Here, Plaintiff’s existence, title
   to the HBA Related Claims, and standing as a reorganized debtor to bring the HBA Related
   Claims depends on the documents filed with and approved by the Bankruptcy Court. These
   documents are, in turn, attached to the Holbert Declaration.
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   any such assets “despite reasonable efforts.” See, e.g., id. at Exs. BA-5–BA-8 (including in the

   “Global Notes” and “Schedule A/B: Assets – Real and Personal Property” sections no mention of

   the FCSC Certified Claim as an asset in response to question 70 of its Schedules, which requests

   a list of “[a]ll other assets”, including “[c]auses of action against third parties (whether or not a

   lawsuit has been filed)”); id. at Ex. BA-6, at question no. 15, line 15.42 (ascribing

   “undetermined” or unknown distributable value to Plaintiff).

          Further, neither the Reorganization Plan nor the disclosure statement in support of the

   Reorganization Plan (the “Disclosure Statement”) mentioned the FCSC Certified Claim or the

   HBA Related Claims, either. See id. at Exs. BA-14, BA-17. These assets were not disclosed in

   the general reservation of rights and asset-vesting provisions or the “Preservation of Rights of

   Action” section. See id. at Exs. BA-14, BA-17. Nor were they included in the Liquidation

   Analysis or Valuation Analysis annexed to the Disclosure Statement. See id. at Ex. BA-17.

   Instead, the Liquidation Analysis reflected that Plaintiff had no balance sheet value.            Id.

   Moreover, although the Plan Supplement contained a list of “Retained Causes of Action,” that

   list did not include the HBA Related Claims that Plaintiff asserts here. See id. at Ex. BA-15.

          Within three months of the commencement of the Bankruptcy Case, on June 25, 2019,

   the Bankruptcy Court entered its Findings of Fact, Conclusions of Law, and Order Confirming

   Second Amended Joint Chapter 11 Plan of Reorganization of Hexion Holdings LLC and its

   Debtor Affiliates under Chapter 11 of the Bankruptcy Code (the “Confirmation Order”). See id

   at Ex. BA-13. The Confirmation Order confirmed the Reorganization Plan, which became

   effective on July 1, 2019, and Plaintiff and the other Hexion Debtors successfully exited the

   bankruptcy proceedings they had commenced just three months earlier. See id. at Ex. BA-16.




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          IV.     The Core of Plaintiff’s Claims in This Action

          At its core, then, the Complaint alleges that Defendants on two discrete occasions (or, for

   some Defendants, just once) “trafficked” in the Confiscated Port, which comprises 2%

   ($2,228,000) of the total value of Plaintiff’s Confiscated Property ($97,373,414.72) expropriated

   by the Cuban government. Nonetheless, in this action, Plaintiff seeks to recover the total value

   of its Confiscated Property without alleging that Defendants knowingly and intentionally

   trafficked in any Confiscated Property beyond the Confiscated Port.              Plaintiff also seeks

   compounded interest accruing over the last sixty years, trebled under 22 U.S.C. § 6082(a)(3), and

   attorneys’ fees and costs. See Compl. at Prayer for Relief ¶¶ 1, 3.

          For the reasons explained below, the Complaint should be dismissed.

                                          LEGAL STANDARD

          A motion to dismiss for lack of standing is governed by Rule 12(b)(1) because standing is

   jurisdictional. See Fla. Wildlife Fed’n, Inc. v. S. Fla. Water Mgmt. Dist., 647 F.3d 1296, 1302

   (11th Cir. 2011). Standing is a “threshold jurisdictional question” that must be addressed “prior

   to and independent of the merits of a party’s claims.” Bochese v. Town of Ponce Inlet, 405 F.3d

   964, 974 (11th Cir. 2005) (citation omitted). “The plaintiff, as the party invoking federal

   jurisdiction, bears the burden of establishing” each element of standing. Spokeo, Inc. v. Robins,

   136 S. Ct. 1540, 1547 (2016).

          Under Rule 12(b)(6), a complaint must be dismissed unless it “contain[s] sufficient

   factual matter, accepted as true, ‘to state a claim to relief that is plausible on its face.’” Ashcroft

   v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). “[A] plaintiff’s obligation to provide the

   ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions, and a

   formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v.

   Twombly, 550 U.S. 544, 555 (2007) (alteration in original) (citation omitted).                “Factual

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   allegations must be enough to raise a right to relief above the speculative level,” id., meaning

   that a plaintiff must “plead[] factual content that allows the court to draw the reasonable

   inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. And

   while the Court must accept a plaintiff’s well-pled facts as true, it need not accept “conclusory

   allegations, unwarranted deductions of fact[],” Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d

   1182, 1188 (11th Cir. 2002), or “legal conclusion[s] couched as a factual allegation.” Twombly,

   550 U.S. at 555 (quotation omitted).

                                             ARGUMENT

      I.      The Complaint Should Be Dismissed
              Because Plaintiff Lacks Article III Standing

           Plaintiff lacks Article III standing because it does not (and cannot) allege that it suffered

   a “concrete” injury, traceable to the shipments of equipment to Puerto Carupano, Cuba on which

   this action is based, that is distinct from the injury it sustained sixty years ago when the Cuban

   government nationalized that port. The Court therefore lacks subject matter jurisdiction and

   should dismiss this action.

           The doctrine of standing is embodied in the constitutional requirement that courts are

   empowered to resolve only “Cases” or “Controversies.” U.S. Const. art. III, §§ 1–2; see also

   Trichell v. Midland Credit Mgmt., Inc., 964 F.3d 990, 996 (11th Cir. 2020) (citing Spokeo, 136 S.

   Ct. at 1547). If a plaintiff lacks standing, then a court lacks subject matter jurisdiction and must

   dismiss the case. United States v. Ross, 963 F.3d 1056, 1062 (11th Cir. 2020) (standing “is a

   threshold jurisdictional question which must be addressed prior to and independent of the merits

   of a party’s claims”) (quotation marks and citation omitted).

           The legal standards governing standing are well established; the Supreme Court and the

   Eleventh Circuit have recently reiterated and applied them. The “irreducible constitutional

   minimum of standing consists of three elements. . . . The plaintiff must have (1) suffered an
                                              10
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   injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that

   is likely to be redressed by a favorable judicial decision.” Spokeo, 136 S. Ct. at 1547 (citing

   Lujan v. Defs. of Wildlife, 504 U.S. 555, 559–60 (1992)) (internal quotations omitted); Trichell,

   964 F.3d at 996–97 (same). The plaintiff bears the burden of establishing these elements.

   Spokeo, 136 S. Ct. at 1547. At the pleadings stage, plaintiff “must clearly . . . allege facts

   demonstrating each element.” Id. (alteration in original) (internal quotations omitted).

          To establish an injury in fact, “a plaintiff must show that he or she suffered ‘an invasion

   of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not

   conjectural or hypothetical.’” Id. at 1548 (quoting Lujan, 504 U.S. at 560). A concrete injury

   “must be ‘de facto’; that is, it must actually exist.” Spokeo, 136 S. Ct. at 1548.

          And, crucial to this case, a plaintiff does not automatically have standing simply because

   it alleges the elements of a cause of action created by Congress. The Supreme Court “has

   rejected the argument that a plaintiff automatically satisfies the injury-in-fact requirement

   whenever a statute grants a person a statutory right and purports to authorize that person to sue to

   vindicate that right. . . . Article III standing requires a concrete injury even in the context of a

   statutory violation.” Thole v. U.S. Bank N.A., 140 S. Ct. 1615, 1620–21 (2020) (quoting Spokeo,

   136 S. Ct. at 1549) (internal quotations omitted); Salcedo v. Hanna, 936 F.3d 1162, 1167 (11th

   Cir. 2019) (same); see also Spokeo, 136 S. Ct. at 1548 (“Congress cannot erase Article III’s

   standing requirements by statutorily granting the right to sue to a plaintiff who would not

   otherwise have standing.”) (quotation marks and citation omitted).

          Plaintiff does not and cannot allege the first two “irreducible” requirements to establish

   standing – that is, that Plaintiff “suffered an injury in fact” and that such injury “is fairly

   traceable to the challenged conduct” of Defendants.



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          First, the Complaint seeks relief based only and entirely on an injury it allegedly

   sustained in 1959 and 1960 at the hands of the Cuban government. Based on the value of the

   property, the FCSC certified that Plaintiff suffered a loss in the amount of $97,373,414.72,

   between November 1959 and July 1960, as a result of the Cuban government’s confiscation of

   Plaintiff’s various properties in Cuba.     See Compl. ¶¶ 68–69 (describing confiscation of

   Confiscated Property), 76–81 (describing valuation of Confiscated Property); id. at Ex. 1.

   Plaintiff seeks damages in that amount plus interest, treble damages, attorneys’ fees and costs,

   see Compl. at Prayer for Relief, which are precisely the damages that the Act facially provides

   for. See 22 U.S.C. § 6082(a)(1)(A)(i); see also Comp. ¶¶ 57–62.

          The only relief that Plaintiff seeks in this case, therefore, is in respect to the injury it

   sustained in 1959 and 1960 as a result of Cuba’s confiscation of the Confiscated Property.

   Plaintiff fails to allege that it suffered any other injury. The word “injury” (or other forms

   thereof) appears in the Complaint once, in paragraph 28. That allegation confirms that the harm

   Plaintiff seeks to redress here consists of the “losses and injuries” it suffered from Cuba’s

   “expropriation” of its property. The word “damages” (or other forms thereof) appears many

   times in the Complaint; in every instance, it refers only to the statutory damages under the Act or

   the losses determined by the Certified Claim. E.g., Compl. ¶¶ 39, 57, 190, 195, 206, 213, 220,

   236, 245. Plaintiff’s losses as determined in the Certified Claim were caused by Cuba in 1960

   when it took Plaintiff’s property, but those losses are not “traceable” to Defendants’ alleged uses

   of Puerto Carupano in 2018. Kawa Orthodontics, LLP v. Sec’y, U.S. Dep’t of the Treasury, 773

   F.3d 243, 247 (11th Cir. 2014) (“To establish causation, [plaintiff] must demonstrate its alleged

   injury is fairly traceable to the challenged action of the defendant.”) (quoting Lujan, 504 U.S. at

   560) (internal quotation marks omitted).



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          Second, the alleged use of Puerto Carupano by Defendants (or anyone else) does not, as a

   matter of law constitute an injury-in-fact to Plaintiff, because Plaintiff does not own any property

   interest in Puerto Carupano (which the Complaint labels the “Confiscated Port”) itself. Plaintiff

   currently owns only a “claim” relating to the Confiscated Port. Glen v. Club Mediterranee, S.A.,

   450 F.3d 1251, 1255 (11th Cir. 2006) (“Club Med”) (rejecting plaintiffs’ argument that the Act

   rendered Cuba’s expropriation of property ineffective and, therefore, that they held an

   “ownership interest” in the property).8 Because Plaintiff does not own the Confiscated Port –

   and has not owned it since 1960 – it could not have been injured by Defendants’ use of the

   Confiscated Port in connection with the shipments approximately sixty years later in 2018.

          It is well settled that a plaintiff who does not own property lacks standing to assert a

   claim for allegedly wrongful use of that property. United States v. Amodeo, 916 F.3d 967 (11th

   Cir. 2019) (finding that once the United States government took ownership of property through

   forfeiture, the former owner lacked standing to object to how the government chose to dispose of

   the property); Harris v. Orange S.A., 636 F. App’x 476, 484 (11th Cir. 2015) (finding that

   plaintiff who did not own trademark lacked standing to pursue trade secrets claim); Nunnelee v.

   United States, 573 F. App’x 886, 887 (11th Cir. 2014) (same); see also Club Med, 450 F.3d at

   1254–55 (holding that former owners of confiscated property in Cuba could not sue current users

   of the property for trespass).

          Third, Plaintiff is in the same position today as before the alleged shipments in this case

   were unloaded at Puerto Carupano.        And, it would have been in the same position if no

   shipments, or if thousands of shipments, had been unloaded at that port. Plaintiff held, and still

   holds, a Certified Claim for more than $97.37 million against Cuba. The shipments alleged in
   8
          See also Havana Docks Corp. v. Royal Caribbean Cruises, Ltd., No. 19-CV-23590, 2020
   WL 1905219, at *7 (S.D. Fla. Apr. 17, 2020) (finding “the Cuban Government’s confiscation of
   property extinguished any ownership rights of those who owned the property prior to the
   expropriation”).
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   this case in no way affected that Certified Claim (on which Plaintiff stands to collect in any

   eventual settlement between the United States and Cuba). Plaintiff still would not own or be

   able to exclude others from using the Confiscated Port even if the shipments had not occurred.

          The Supreme Court recently reconfirmed the core constitutional principle that, when the

   violation of a statute does not change a plaintiff’s position, that plaintiff lacks standing. Thole,

   140 S. Ct. at 1620–21. Plaintiffs in Thole were retirees who received fixed monthly payments

   under a company retirement plan.        They alleged that the company made poor investment

   decisions, in violation of the Employee Retirement Income Security Act (ERISA), 29 U.S.C. §§

   1001 et seq., which caused the plan to lose $750 million. Appealing the dismissal of their claims

   for lack of standing, plaintiffs argued that ERISA affords them a “cause of action to sue for

   restoration of plan losses and other equitable relief.” 140 S. Ct. at 1620. The Supreme Court

   held, however, that merely satisfying the elements of a cause of action under a statute is not

   enough, because “Article III standing requires a concrete injury even in the context of a statutory

   violation.” Id. at 1620–21 (quoting Spokeo¸ 136 S. Ct. at 1549). Plaintiffs’ position did not

   change, and would not change in the future, even if the company defendant violated the statute,

   because plaintiffs continued to receive and would be entitled to receive their fixed monthly

   benefits for their lifetimes. Plaintiffs therefore sustained no concrete injury and thus lacked

   standing.

          Similarly in this case, simply because Plaintiff has alleged (and even if it could prove) the

   elements of “trafficking” under the Act does not mean that it has Article III standing. “Although

   Congress may ‘elevate’ harms that ‘exist’ in the real world before Congress recognized them to

   actionable legal status, it may not simply enact an injury into existence, using its lawmaking

   power to transform something that is not remotely harmful into something that is.” Hagy v.

   Demers & Adams, 882 F.3d 616, 622 (6th Cir. 2018); see also Nicklaw v. Citimortgage, Inc., 839

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   F.3d 998, 1003 (11th Cir. 2016) (finding that “the requirement of concreteness under Article

   III is not satisfied every time a statute creates a legal obligation and grants a private right of

   action for its violation”).

           Plaintiff may argue that, if it lacks standing to sue – despite alleging all elements of the

   civil action under the Act and holding a $97.37 million Certified Claim – then few or no

   claimants would have standing to pursue a trafficking claim, which would allegedly defeat

   Congress’s intent in creating the Act’s civil remedy provision. That argument, however, has

   been soundly rejected by the Supreme Court. “The assumption that if [Plaintiff has] no standing

   to sue, no one would have standing, is not a reason to find standing.” Schlesinger v. Reservists

   Comm. to Stop the War, 418 U.S. 208, 227 (1974); see also Thole, 140 S. Ct. at 1621 (same).9

           The district court in Glen recently dismissed a trafficking claim under the Act for lack of

   Article III standing. 2020 WL 4464665, at *2. In Glen, the plaintiff’s claim was to beachfront

   property, which the Cuban government confiscated from his mother and aunt in 1960, and on

   which luxury hotels were later built. Id. at *1. The plaintiff alleged that the defendant airline

   “trafficked” in the property by booking reservations online for hotels on that property. Id. The

   court, after stating the standards for Article III standing, id. at **4–5, concluded that the plaintiff

   lacked standing because he was not harmed by the airline’s doing business with the hotels. Id. at

   *2 (“Defendant did not deprive plaintiff of the Properties or the profits he might make if he




   9
           See also Glen v. Am. Airlines, Inc., No. 20-CV-482-A, 2020 WL 4464665, at *3 (N.D.
   Tex. Aug. 3, 2020) ( “Plaintiff also argues that a finding that he lacks standing ‘would write Title
   III out of existence’ . . . . Even if such a statement is true, ‘[t]he assumption that if [plaintiff has]
   no standing to sue, no one would have standing, is not a reason to find standing.’) (citing
   Clapper v. Amnesty Int’l USA, 568 U.S. 398, 420–21 (2013)); Valley Forge Christian Coll. V.
   Am. United for Separation of Church & State, Inc., 454 U.S. 464, 489 (1982).
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   owned and operated hotels on the Properties.”). His position remained the same regardless of

   how many reservations the airline booked, or whether it booked any at all.10

              As in Glen, here Plaintiff was injured when Cuba confiscated its property in 1959 and

   1960. The Certified Claim, issued in 1969, confirmed and determined the amount of that loss.

   Plaintiff now seeks to recover that very loss from Defendants – not the Cuban government –

   because Defendants allegedly used a small portion of the Confiscated Property, the Confiscated

   Port, in connection with two shipments in 2018 and 2019. Plaintiff has thus neither alleged nor

   sustained any injury, separate from the Cuban government’s confiscation, that is traceable to

   Defendants. Plaintiff therefore lacks Article III standing and this action should be dismissed for

   lack of subject-matter jurisdiction. Harris, 636 F. App’x at 484; Nunnelee, 573 F. App’x at 887;

   Club Med, 450 F.3d at 1254–55.

        II.      Plaintiff’s Decision Not to Disclose in Its Recent Bankruptcy
                 Proceedings the Alleged Rights It Asserts Here Bar This Action

              Aside from a lack of Article III standing, there are two other related and insurmountable

   threshold standing issues to Plaintiff’s ability pursue its claims in this Court. Namely, Plaintiff

   omitted the Certified Claim and HBA Related Claims from all of the filings that creditors and

   the Bankruptcy Court relied upon in allowing Plaintiff and its co-debtors to exit the bankruptcy




   10
            A different judge in this District recently denied a motion to dismiss a trafficking claim
   under the Act for lack of Article III standing. Cueto Iglesias v. Pernod Ricard, No. 20-CV-
   20157, ECF No. 55 at 16-18 (S.D. Fla. Aug. 17, 2020). Defendants respectfully submit that that
   ruling is incorrect. Not only was that conclusion dicta (the court had already found that the
   plaintiffs had failed to establish personal jurisdiction over the defendant), but the court, in
   deeming the plaintiffs’ allegations that the defendant trafficked under the Act as sufficient to
   allege injury for purposes of standing, did not address the legal standards governing standing and
   in particular did not discuss the authority from Thole, Spokeo or Trichell. The Iglesias court’s
   order, therefore, did not analyze or apply binding case law holding that the violation of a federal
   statute, by itself, does not create standing.
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   proceeding. Because Plaintiff denied in its Bankruptcy Case that these assets exist, Plaintiff is

   now estopped from pursuing this case, and has no standing to do so.11

          A.      The Hexion Debtors Did Not Disclose the Certified
                  Claim or the HBA Related Claims to the Bankruptcy
                  Court and Thus Are Judicially Estopped From Pursuing Them Here

          Throughout their bankruptcy proceedings, the Hexion Debtors had “an affirmative duty

   of full disclosure.” Ryan Operations G.P. v. Santiam-Midwest Lumber Co., 81 F.3d 355, 362 (3d

   Cir. 1996) (debtor must disclose contingent and unliquidated claims of every nature and provide

   an estimated value for each); see also 11 U.S.C. § 521(a) (requiring that a debtor file a schedule

   of assets). “That ‘duty to disclose is a continuing one,’” Smith v. Haynes & Haynes P.C., 940

   F.3d 635, 643 (11th Cir. 2019) (citation omitted), and applies to any potential and likely causes

   of action. See Krystal Cadillac-Oldsmobile GMC Truck, Inc. v. Gen. Motors Corp., 337 F.3d

   314, 322 (3d Cir. 2003) (holding that undisclosed, known claims are subject to judicial estoppel);

   Oneida Motor Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 417 (3d Cir. 1988) (“It has

   been specifically held that a debtor must disclose any litigation likely to arise in a non-
   11
            The same result is reached under precedent from either the Eleventh Circuit, where
   Plaintiff has chosen to pursue the instant action, or from the Third Circuit, where Plaintiff’s
   bankruptcy case was venued. In BPP Illinois, LLC v. Royal Bank of Scotland Grp. PLC, 859
   F.3d 188 (2d Cir. 2017), for example, the Second Circuit applied precedent from the Fifth Circuit
   to judicially estop a debtor that failed to disclose litigation claims in its prior Texas bankruptcy
   case. In analyzing judicial estoppel in a context such as this, however, courts in the Eleventh
   Circuit have applied Eleventh Circuit law without regard for the venue of the prior bankruptcy
   case. See Jones v. United States, 467 F. App’x 815, 818–19 (11th Cir. 2012) (finding that the
   district court “did not abuse its discretion in applying judicial estoppel to [plaintiff’s Federal Tort
   Claims Act] claim” where plaintiff failed to disclose the existence of this claim during the course
   of her bankruptcy proceedings in United States Bankruptcy Court of the Southern District of
   Iowa). Because Plaintiff’s bankruptcy proceeding was venued in Delaware, precedents from
   both the Eleventh Circuit and the Third Circuit are included in this analysis. As stated, under
   each, the result is the same. Further, in deciding issues like those presented here, the Eleventh
   Circuit has not surprisingly looked to guidance from the Third Circuit, which includes Delaware,
   itself a leading authority on corporate and bankruptcy law. E.g. Slater v. United States Steel
   Corp., 871 F.3d 1174, 1181 (11th Cir. 2017) (citing Ryan for the proposition that the Third
   Circuit could apply judicial estoppel to preclude post-bankruptcy claim because “absent any
   good explanation, a party should not be allowed to gain an advantage by litigation on one theory,
   and then seek an inconsistent advantage by pursuing an incompatible theory”).
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   bankruptcy context”).

           The disclosure obligation is “crucial to the effective functioning of the federal bankruptcy

   system,” as “creditors and the bankruptcy court rely heavily on the debtor’s disclosure statement

   in determining whether to approve a proposed reorganization plan.” Ryan, 81 F.3d at 362. In

   the Third Circuit, in which the Bankruptcy Case was venued, “if a debtor has enough

   information prior to confirmation to suggest that it may have a possible cause of action, then that

   is a ‘known’ cause of action such that it must be disclosed.” Krystal, 337 F.3d at 323 (alteration

   and citation omitted). The same obligation exists in the Eleventh Circuit. E.g., Smith, 940 F.3d

   at 643–44 (holding that “‘[w]hen an individual files for bankruptcy, [s]he must file sworn

   disclosures listing h[er] debts and h[er] assets, including any pending civil claims’ . . . That ‘duty

   to disclose is a continuing one that does not end once the forms are submitted to the bankruptcy

   court; rather, a debtor must amend h[er] financial statements if circumstances change.’ . . . even

   after confirmation of the petitioner’s plan”) (citation omitted; gender-changing brackets in

   original).

           Parties to bankruptcy proceedings are bound by such disclosures, and judicial estoppel

   prevents those parties from subverting the judicial process and undermining the integrity of the

   bankruptcy system by “deliberately changing positions according to the exigencies of the

   moment.” Henderson v. Franklin, 782 F. App’x 866, 870 (11th Cir. 2019) (en banc) (internal

   quotations omitted) (citing Slater v. United States Steel Corp., 871 F.3d 1174, 1180 (11th Cir.

   2017)); Krystal, 337 F.3d at 325 (holding that judicial estoppel barred post-bankruptcy debtor’s

   assertion of claims known to debtor, but not disclosed, during bankruptcy case because “[s]uch

   nondisclosures [of known litigation claims] affect creditors’ willingness to negotiate their claims

   and enhance the debtor’s bargaining position by making the pot that creditors look to for

   recovery appear smaller than it really is”); Oneida Motor Freight, 848 F.2d at 416 (observing

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   that it is a “long-standing tenet of bankruptcy law” that one seeking benefits under the terms of

   the Bankruptcy Code is required to schedule all interests and property rights).12

          In Slater, the Eleventh Circuit reaffirmed “that a district court may apply judicial estoppel

   when a two-part test is satisfied: the plaintiff (1) took a position under oath in the bankruptcy

   proceeding that was inconsistent with plaintiff’s pursuit of the civil lawsuit and (2) intended to

   make a mockery of the judicial system.” 871 F.3d at 1180. These prongs are met here.

                  i.      Plaintiff Took a Position in Its Bankruptcy
                          Proceeding That Is Inconsistent with Its Claims Here

          The first element of judicial estoppel is “that the plaintiff took a position under oath in the

   bankruptcy proceeding that was inconsistent with the plaintiff’s pursuit of the civil lawsuit.”

   Smith, 940 F.3d at 643–44 (“Courts consider the omission of a legal claim from a bankruptcy

   asset schedule to be a denial that the claim exists. And a complaint in district court seeking

   damages on the same claim is considered an assertion that the claim does indeed exist. By failing

   to disclose a pending district court claim to the bankruptcy court, a plaintiff is thus deemed to be

   taking inconsistent positions. And that inconsistency can satisfy the first prong of the judicial

   estoppel test.”) (citations omitted); see also Henderson, 782 F. App’x at 871 (“Step one is

   satisfied when the plaintiff fails to disclose a claim against a third party in a bankruptcy

   proceeding (regardless of chapter) and then pursues that claim in court.”).

          Here, Plaintiff failed to sufficiently disclose or otherwise identify the Certified Claim or

   the HBA Related Claims (or their values) as an asset in its disclosures made to creditors and the

   12
           As the Fifth Circuit succinctly explained in In re Coastal Plains, Inc., “courts will not
   permit a debtor to obtain relief from the bankruptcy court by representing that no claims exist
   and then [allow the debtor] subsequently to assert those claims for his own benefit in a separate
   proceeding. The interests of both the creditors, who plan their actions in the bankruptcy
   proceeding on the basis of information supplied in the disclosure statements, and the bankruptcy
   court, which must decide whether to approve the plan of reorganization on the same basis, are
   impaired when the disclosure is incomplete.” 179 F.3d 197, 205–06 (5th Cir. 1999) (emphases
   and citations omitted).
                                                  19
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   Bankruptcy Court at any point during the Bankruptcy Case. Holbert Decl. A, at Exs. BA-5, BA-

   9. The other Hexion Debtors failed to do so as well. Id. at Exs. BA-6–BA-8, BA-10–BA-12.

   The Hexion Debtors instead advanced the position that Plaintiff either (a) possessed no litigation

   claims or (b) could not identify and list any such assets despite reasonable efforts:




   Id. at Ex. BA-5; see id. at Exs. BA-6–BA-8 (including in the “Global Notes” and “Schedule

   A/B: Assets – Real and Personal Property” sections no mention of the FCSC Certified Claim as

   an asset in response to question 70 of its Schedules, which requests a list of “[a]ll other assets,”

   including “[c]auses of action against third parties (whether or not a lawsuit has been filed)”).

   Perplexingly, Plaintiff’s parent ascribed an “undetermined value” to Plaintiff:




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   See id. at Ex. BA-6.

          Further, neither the Reorganization Plan nor the Disclosure Statement mentions the FCSC

   Certified Claim or the HBA Related Claims. Id. at Exs. BA-14, BA-17. One would reasonably

   expect to find such disclosure at least in the asset-vesting provisions and general reservation of

   rights (at least by type or category, such as “claims related to confiscated property” or “Helms-

   Burton Act claims”). But there is nothing of the sort there. See id. at Ex. BA-17, Article IV, ¶

   D. Alternatively, Plaintiff or any of the other Hexion Debtors could have listed them by value in

   the “Preservation of Rights of Action” section. But there is nothing of that sort in that section,

   either. Id. ¶ P. Looking even more closely, the FCSC Certified Claim and the HBA Related

   Claims and their values could have been – but were not – included in the Liquidation Analysis or

   Valuation Analysis annexed to the Disclosure Statement of the bankruptcy proceeding. Id. at Ex.

   BA-17, Exs. H, I. To the contrary, the Liquidation Analysis reflected that Plaintiff had no

   balance sheet value:




                                                  21
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   Id. at Ex. BA-17, Ex. H. Moreover, although the Plan Supplement specifically listed “Retained

   Causes of Action,” that list did not include the Certified Claim or the HBA Related Claims

   either. Id. at Ex. BA-15.

          In short, despite having plentiful opportunities to do so, Plaintiff did not disclose the

   Certified Claim or the HBA Related Claims or their values as an asset in any disclosure made to

   the Bankruptcy Court and its creditors. And yet, these assets now are the necessary basis of the

   action Plaintiff pursues in this Court. Thus, the Complaint’s and the bankruptcy disclosures’

   inconsistent positions concerning the existence of Plaintiff’s Certified Claim and the HBA

   Related Claims “satisfies the first prong of the judicial estoppel test.” Smith, 940 F.3d at 644.

                  ii.     Plaintiff’s Lack of Disclosure Amounts to Bad
                          Faith and Makes a Mockery of the Judicial System

          The second element of the judicial estoppel analysis is whether the inconsistent positions

   were taken in “bad faith” or were “calculated to make a mockery of the judicial system.”

   Henderson, 782 F. App’x at 871 (citations omitted). Here, the Hexion Debtors’ intentional non-

   disclosure of the Certified Claim and the HBA Related Claims allowed them to play “fast and

   loose” with the Bankruptcy Court.

          Courts presume bad faith “when averments in the pleadings demonstrate both knowledge

   of a claim and a motive to conceal that claim in the face of an affirmative duty to disclose.”
                                                    22
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   Krystal, 337 F.3d at 321 (establishing rebuttable inference of bad faith); Ryan, 81 F.3d at 363

   (motive to conceal may be apparent from the size of damages sought, which may have affected

   the size of the bankruptcy estate).

           Although the Eleventh Circuit does not apply an outright presumption of bad faith in such

   circumstances, it does mandate a review of “all the facts and circumstances” in order to

   determine “whether a plaintiff intended to mislead the court.” Slater, 871 F.3d at 1185–86. And

   when there are indicia of intentional misleading, the Eleventh Circuit has empowered district

   courts to find that a plaintiff intended to “make a mockery of the judicial system” and apply

   judicial estoppel. Id.; see also Henderson v. U.S. Sec. Assocs., Inc., No. 17-CV-3329, 2018 WL

   5044634, at *3 (N.D. Ga. Oct. 17, 2018), aff’d sub nom. Henderson, 782 F. App’x at 866

   (applying judicial estoppel to bar claims even where plaintiff was pro se and plaintiff had not

   initiated lawsuit until after bankruptcy). To assist district courts like this one in assessing intent,

   the Slater Court provided the following guidance:

           When the plaintiff’s inconsistent statement comes in the form of an omission in
           bankruptcy disclosures, the court may consider such factors as the plaintiff’s level
           of sophistication, whether and under what circumstances the plaintiff corrected
           the disclosures, whether the plaintiff told his bankruptcy attorney about the civil
           claims before filing the bankruptcy disclosures, whether the trustee or creditors
           were aware of the civil lawsuit or claims before the plaintiff amended the
           disclosures, whether the plaintiff identified other lawsuits to which he was a party,
           and any findings or actions by the bankruptcy court after the omission was
           discovered.

   Slater, 871 F.3d at 1185. This list of factors to consider is non-exhaustive, and the Eleventh

   Circuit has underscored the district court’s freedom “to consider any fact or factor it deems

   relevant to the intent inquiry.” Id. at n.9.

           Here, no one can dispute that the Hexion Debtors were owned pre-bankruptcy by highly

   sophisticated investors, see Hexion Inc., Annual Report for Fiscal Year Ending Dec. 31, 2018

   (Form 10-K), https://investors.hexion.com/node/13866/html#s2028C3E051CB6C12EF5415B25

                                                     23
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   DB3D2EC, and that they were represented by well-qualified counsel, investment advisors and

   financial advisors. During the Bankruptcy Case, the Hexion Debtors’ bankruptcy legal advisors

   were Latham & Watkins LLP and Richards, Layton & Finger, P.A.13 Holbert Decl. Ex. A, at Ex.

   BA-17. Their financial advisor was Moelis & Company. Id. Their restructuring advisor was

   AlixPartners. Id. In addition, despite the fact that the suspension of the prohibition of Title III’s

   private right of action was lifted during the pendency of the Bankruptcy Case, there were no

   amendments addressing the Certified Claim or HBA Related Claims. See id. at Ex. BA-14

   (filing of amended Plan of Reorganization on June 20, 2019, which includes no mention of the

   Certified Claim or HBA Related Claims). In short, these parties cut a deal that they imposed on

   non-consenting creditors, the Bankruptcy Court, and the public by obtaining the Bankruptcy

   Court’s approval based on a record bare of any mention of the existence or value of the Certified

   Claim or the HBA Related Claims.

          Had the Bankruptcy Court and creditors been provided notice that the Hexion Debtors

   owned an asset now alleged to be worth treble the sum of $97.37 million and interest purportedly

   compounded over more than sixty years – more than the entire value of the bankruptcy estate –

   those creditors and the Bankruptcy Court might very well have insisted that some of that

   additional value be distributed to those junior classes.14 See In re Coastal Plains, 179 F.3d at

   205–206, 208 (holding that plaintiff was estopped from asserting undisclosed claims and stating

   13
           Shortly after Plaintiff filed the bankruptcy petition, and before the Bankruptcy Court
   confirmed the Reorganization Plan, the Hexion Debtors’ bankruptcy counsel’s own firm issued a
   comprehensive client alert concerning causes of action under the Act. See Latham & Watkins
   Client Alert Commentary, 10 Things to Know: US Allows Lawsuits Relating to “Trafficking” in
   Confiscated Property in Cuba, May 3, 2019, No. 2497, available at
   https://www.lw.com/thoughtLeadership/10-Things-to-Know-US-Allows-Lawsuits-Relating-to-
   Trafficking-in-Confiscated-Property-in-Cuba.
   14
           See Holbert Decl. Ex. A, at Ex. BA-17, at Ex. A (reporting “total enterprise value of $3.1
   billion”); see id. at Ex. BA-17, at Ex. I (reporting “the midpoint of our enterprise value range is
   $3,100 million”).
                                                     24
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   that, “[t]he interests of both the creditors, who plan their actions in the bankruptcy proceeding on

   the basis of information supplied in the disclosure statements, and the bankruptcy court, which

   must decide whether to approve the plan of reorganization on the same basis, are impaired when

   the disclosure is incomplete”) (citation and emphasis omitted); cf. In re Pen Holdings, Inc., 316

   B.R. 495, 500–501 (Bankr. M.D. Tenn. 2004) (“at issue in § 1123(b)(3) is . . . notice to creditors

   generally that there are assets yet to be liquidated that are being preserved for prosecution by the

   reorganized debtor or its designee”).

          In analyzing this second prong it is significant that the home forum of the bankruptcy

   mandates disclosure. When a party – like Plaintiff here – has failed to make such a disclosure, it

   evidences improper intent. See BPP Illinois, 859 F.3d 188 (estopping a debtor from asserting

   claims that it failed to disclose in its prior Texas bankruptcy case because nondisclosure was

   improper in the Fifth Circuit where the bankruptcy was located). Plaintiff cannot now seek

   damages based on a Certified Claim of which it alleges to have been aware for decades, but

   denied owning when it was required to comply with the mandated duty of disclosure in

   bankruptcy. Judicial estoppel prevents Plaintiff from profiting from such a sleight of hand in the

   Bankruptcy Court and in this Court. See Krystal, 337 F.3d at 325.

          B.      Plaintiff Lacks Standing to Bring this Action Due to
                  Its Lack of Sufficient Disclosure in the Bankruptcy Case

          Aside from being judicially estopped from asserting the present causes of action,

   Plaintiff’s conduct in the Bankruptcy Case also deprives it of standing before (and hence subject

   matter jurisdiction in) this Court. In order for Plaintiff to have preserved the causes of action it

   now asserts related to its Certified Claim and HBA Related Claims, it must have adequately

   disclosed them in its bankruptcy proceeding. Plaintiff did not, because its sole boilerplate

   reservation did not put creditors sufficiently on notice to identify and evaluate the assets

   potentially available for distribution. Plaintiff therefore lacks standing.
                                                      25
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          Although the Bankruptcy Code allows debtors to reserve causes of action to a post-

   bankruptcy representative of the estate, see 11 U.S.C. § 1123(b)(3), “the reservation [by the plan]

   [must] be worded sufficiently to ‘allow creditors to identify and evaluate the assets potentially

   available for distribution.’” In re Transit Grp., Inc., 332 B.R. 45, 57 (Bankr. M.D. Fla. 2005)

   (citing Pen Holdings, 316 B.R. at 504). “After confirmation . . . the ability of the [debtor] to

   enforce a claim once held by the estate is limited to that which has been retained in the plan.” In

   re United Operating, LLC, 540 F.3d 351, 356–57 (5th Cir. 2008) (holding that “[i]f a debtor has

   not made an effective reservation, the debtor has no standing to pursue a claim that the estate

   owned before it was dissolved”) (citation omitted; alteration in original). Absent identification

   of the type and category or value of a known cause of action, courts are in accord that

   Bankruptcy Code Section 1141, which vests assets in the post-petition debtor, does not overcome

   the disclosure required under Section 1123(b)(3) so as to reserve standing to pursue the

   undisclosed cause of action post-petition. E.g., Harstad v. First Am. Bank, 39 F.3d 898, 903 (8th

   Cir. 1994) (without satisfying the notice requirement of 1123(b)(3) by putting creditors on notice

   of claims the debtor intends at the time of the case to pursue post-petition, plan does not vest

   post-confirmation debtor with standing to pursue those claims); In re Ice Cream Liquidation,

   Inc., 319 B.R. 324, 333 (Bankr. D. Conn. 2005) (“[I]f the Plan contains the requisite provision

   [reserving a cause of action], the Debtor has standing . . . However, if an adequate Plan provision

   is lacking, the Debtor lacks standing.”).15



   15
           Moreover, because the Certified Claim and the HBA Related Claims were not scheduled,
   those assets were neither administered in the Bankruptcy Case nor abandoned to the
   “Reorganized” Hexion Debtors, and thus they remain “property of the estate.” See Jacobs v. A-C
   Prod. Liab. Tr., No. 09-CV-30143, 2015 WL 5818388, at *6 (E.D. Pa. Oct. 6, 2015) (citing
   Allston-Wilson v. Philadelphia Newspapers, Inc., No. CIV.A. 05-4056, 2006 WL 1050281, at *1
   (E.D. Pa. Apr. 20, 2006)) ( “Pursuant to 11 U.S.C. § 554(d), a cause of action, which a debtor
   fails to schedule, remains property of the estate because it was not abandoned and not
   administered.”); In re Kane, 628 F.3d 631, 637 (3d Cir. 2010) (same).
                                                  26
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          Courts apply slightly varied standards to determine whether plan provisions reserving

   causes of action and vesting assets in post-bankruptcy entities are sufficiently worded to be

   effective. 16 Generally, however, reservations and asset-vesting provisions are held to be

   sufficiently informative only if they specifically “indicat[e] the type or category of claims to be

   preserved.” In re Ampace Corp., 279 B.R. 145, 155 (Bankr. D. Del. 2002) (finding a categorical

   reservation is sufficient to preserve avoidance actions that may be so numerous that precise

   identification prior to confirmation is onerous); In re USN Commc’ns, Inc., 280 B.R. 573, 593

   (Bankr. D. Del. 2002). 17     In In re Bridgeport Holdings, the bankruptcy court held that

   preservation of causes of action for post-confirmation adjudication requires “clear and

   unambiguous retention provisions . . . that specify the category of causes of action to be

   preserved and the potential effect of the pursuit of those causes of action.” 326 B.R. 312, 327

   (Bankr., D. Del. 2005). Id. The Bridgeport Holdings court found categorical identification of

   avoidance actions to be sufficient, but distinguished numerous cases in which debtors’ failure to

   specifically identify knowable, existing non-bankruptcy claims were barred by res judicata,

   judicial estoppel, and lack of standing. Id. As one court framed the question: “[T]he words

   sufficient to satisfy § 1123(b)(3) must be measured in the context of each case and the particular

   claims at issue: Did the reservation allow creditors to identify and evaluate the assets potentially

   available for distribution?” Pen Holdings, 316 B.R. at 504. Here, the answer to that question is

   a resounding “no.”




   16
           The bankruptcy court’s decision in In re Hart Oil & Gas, Inc., 534 B.R. 35, 48 (Bankr.
   D.N.M. 2015) provides a comprehensive summary of the various standards and the
   circumstances in which each applies.
   17
           “The uniformity requirement of the bankruptcy clause forbids . . . arbitrary regional
   differences in the provisions of the Bankruptcy Code.” In re Mosaic Mgmt. Grp., Inc., 614 B.R.
   615, 624 (Bankr. S.D. Fla. 2020) (quotations and citations omitted).
                                                  27
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          The Complaint’s fifty-eight pages and 245 paragraphs recite the history, knowledge, and

   alleged value of the Certified Claim and the HBA Related Claims in which Plaintiff purports to

   have held an interest as early as 1969. The contents and detail of the pleading – filed a mere

   months after Plaintiff’s successful bankruptcy reorganization – confirms that the Hexion Debtors

   were long ago fully aware of the specific causes of action Plaintiff asserts here. E.g., Compl. ¶ 7

   (alleging that American Sugar certified its claim for confiscated property back in 1969 and that

   since 1996 it was known that business dealings with Cuba raised liability risks); id. ¶ 91

   (referencing a 2017 report (notably pre-Hexion Bankruptcy) on defendants’ activities in Cuba).

   Yet in the schedules filed with the Bankruptcy Court, Plaintiff and the other Hexion Debtors did

   no more than assert boilerplate language allegedly reserving generic “causes of action.” See

   Holbert Decl. Ex. A, at Exs. BA-5–BA-8.

          Notably, the Reorganization Plan’s use of the phrase “causes of action” makes no

   reference to claims of the sort asserted in the Complaint (e.g., rights or causes of action created

   by the Certified Claim or Title III) and does not even suggest a potential litigation right to

   damages for trafficking in property confiscated by Cuba. Id. at Ex. BA-14. Nor was there any

   reference even to litigation rights created by federal law in general other than avoidance actions

   and defenses under the Bankruptcy Code. Id. The closest to any kind of disclosure is in the

   Global Notes to the Schedules, as “General Disclosures Applicable to Schedules and

   Statements,” where each of the Hexion Debtors, including Plaintiff, included the following

   pattern language regarding “Causes of Action” – which cagily avoided addressing the issue at

   all:




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   See id. at Ex. BA-5; see also BA-6–BA-8. That was patently insufficient to preserve the causes

   of action Plaintiff seeks to assert now, and thus, Plaintiff lacks standing to assert those claims.

   See, e.g., In re Ampace, 279 B.R. at 155.

      III.      Plaintiff Fails to State a Claim for
                Trafficking in the “Confiscated Property”

             Plaintiff’s Complaint should also be dismissed under Rule 12(b)(6) for failure to state a

   claim. More basically, the Complaint fails to allege facts plausibly showing that Defendants

   knowingly and intentionally trafficked in the Confiscated Property; it only alleges facts that the

   Defendants trafficked in the Confiscated Port.

             Under Title III, “any person that . . . traffics in property which was confiscated by the

   Cuban Government on or after January 1, 1959, shall be liable to any United States national who

   owns the claim to such property.” 22 U.S.C. § 6082(a)(1)(A) (emphasis added). To be liable

   under Title III, a person must “traffic[] . . . in such property.” Glen v. Club Mediterranee S.A.,

   365 F. Supp. 2d 1263, 1269 (S.D. Fla. 2005) (“Title III permits any U.S. national ‘who owns a

   claim to such [confiscated] property for money damages’ to sue those who traffic in such

   property.” (alteration in original; emphasis added and citation omitted)); see also DeMeo v. State

   Farm Mut. Auto. Ins. Co., 639 F.3d 413, 416 (8th Cir. 2011) (quoting New Oxford American

   Dictionary 1738 (3d ed. 2010) (“The plain meaning of the modifier ‘such’ is, ‘of the type

   previously mentioned.’”). There must be facts alleging that Defendants “traffic[ked]…in such


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   property” that Plaintiff claims is the basis for its damages. The Complaint alleges no facts that

   Defendants “trafficked in” the Confiscated Property for which Plaintiff claims $97.37 million in

   damages; at most, the Complaint only alleges Defendants trafficked in only the Confiscated Port,

   which the FCSC valued at $2.228 million. Compl., Ex. 1 at 14.

          Under the Act, “a person ‘traffics’ in confiscated property if that person knowingly and

   intentionally . . . engages in a commercial activity using or otherwise benefiting from

   confiscated property.” 22 U.S.C. § 6023(13) (emphasis added); see also Glen, 2020 WL

   4464665, at *6 (“To commit trafficking under the Act, a person must know that the property was

   confiscated by the Cuban government and intend that such property be the subject of their

   commercial behavior.”). To state a claim under Title III, Plaintiff must allege that Defendants

   engaged in commercial activity using or benefitting from the assets identified as the Confiscated

   Property and that each Defendant did so “knowingly and intentionally.” Plaintiff has not.

          The Confiscated Property includes “various Cuban corporate subsidiaries and their

   numerous assets across Cuba,” including the dozens of assets described in the Certified Claim.

   See Compl. ¶¶ 64–66, 69. These assets include, for example, harvested lands and work animals

   as well as hundreds of thousands of acres of real properties. See generally, Compl., Ex. 1. But

   absent from the Complaint are any factual allegations that Defendants trafficked in, used, or

   otherwise benefitted from any of these assets. Indeed, of the dozens of assets enumerated in

   Plaintiff’s Certified Claim, and therefore included in Plaintiff’s definition of Confiscated

   Property, Plaintiff only alleges that Defendants “trafficked in” Puerto Carupano.18 As for the

   balance of the Confiscated Property, Plaintiff pleads only conclusory allegations that merely

   recite the elements of a Title III cause of action. See Compl. ¶¶ 197, 215, 229. (“[Defendant]

   “knowingly and intentionally: (1) used the Confiscated Property, (2) engaged in commercial
   18
          Defendants deny they knowingly and intentionally trafficked in Puerto Carupano and
   only accept those allegations as true for the purpose of this Motion.
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   activity in using or otherwise benefitting from the Confiscated Property; and/or (3) caused,

   directed, participated in, and profited from the trafficking . . . or otherwise engaged in such

   trafficking through another person.”). These conclusory allegations are plainly insufficient to

   state a claim for relief. See Twombly, 550 U.S. at 545 (“a formulaic recitation of a cause of

   action's elements will not do”); Iqbal, 556 U.S. at 678 (Rule 8 requires more than “naked

   assertions devoid of further factual enhancement.”).

          Not only does Plaintiff fail to allege facts that Defendants trafficked in the assets listed in

   the Certified Claim (except Puerto Carupano), Plaintiff also fails to allege facts showing that

   Defendants trafficked in those assets “knowingly and intentionally” – as it must to state a Title

   III claim. 22 U.S.C. § 6082 (requiring that a party “knowingly and intentionally” engaged in

   prohibited trafficking); see also Glen, 2020 WL 4464665, at *6 (“To commit trafficking under

   the Act, a person must know that the property was confiscated by the Cuban government and

   intend that such property be the subject of their commercial behavior.”). Plaintiff alleges no

   facts showing that Defendants knew of and intended for the dozens of assets identified in the

   Certified Claim – i.e., the Confiscated Property at large – to be the subject of their commercial

   activity. Rather, as to the Confiscated Property, the Complaint just restates the “knowingly and

   intentionally” trafficking element by parroting the statutory language. See Compl. ¶¶ 197, 215,

   229. The Complaint’s conclusory, one-paragraph allegation in each of its first three causes of

   action, Compl. ¶¶ 197, 215, 229, without more, fails to state a claim for relief for trafficking in

   the Confiscated Property. See id.; see Gonzalez v. Amazon.com, Inc., No. 19-23988-CIV, 2020

   WL 1169125, at *2 (S.D. Fla. Mar. 11, 2020) (citing Twombly, 550 U.S. at 557) (holding that

   allegations that a defendant “knowingly and intentionally participated in and profited from the

   communist Cuban Government’s possession of the Subject Property” were conclusory and



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   therefore insufficient to state a claim); see also Michel v. NYP Holdings, Inc., 816 F.3d 686, 694

   (11th Cir. 2016) (“knowledge [and] intent” are “subject to the plausibility pleading standard”).

            By failing to make a single factual allegation that Defendants trafficked in the

   Confiscated Property (other than Puerto Carupano), Plaintiff has failed to “nudge [its] claims

   across the line from conceivable to plausible.” Twombly, 550 U.S. at 570. Absent allegations of

   trafficking in those assets – an essential element of pleading a claim under the Act – those

   dozens of assets cannot form the basis for Plaintiff’s Title III claim. See Iqbal, 556 U.S. at 679

   (“While legal conclusions can provide the framework of a complaint, they must be supported by

   factual allegations.”). Accordingly, Plaintiff’s Title III claim for more than $97.37 million based

   on the value of the assets contained in the Certified Claim – all of the Confiscated Property –

   should be dismissed because Plaintiff has failed to plead factual allegations to support the basic

   elements of a Title III cause of action.

      IV.      Plaintiff Is Precluded From Bringing a Count Under
               the Act Along with a Common-Law Count for Conspiracy

            Plaintiff’s Complaint should also be dismissed because the Act makes clear that a

   plaintiff may not pursue actions both under the Act and under a common law theory, as Plaintiff

   attempts to do here. 22 U.S.C. § 6082(f). This subsection of the Act, titled “Election of

   Remedies,” states:

            Election – Subject to paragraph (2) –

            (A) any United States national that brings an action under this section may not
            bring any other civil action or proceeding under the common law, Federal law, or
            the law of any of the several States, the District of Columbia, or any
            commonwealth, territory, or possession of the United States, that seeks monetary
            or nonmonetary compensation by reason of the same subject matter; and

            (B) any person who brings, under the common law or any provision of law other
            than this section, a civil action or proceeding for monetary or nonmonetary
            compensation arising out of a claim for which an action would otherwise be
            cognizable under this section may not bring an action under this section on that
            claim.
                                                  32
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   Id. By its plain terms, then the Act prohibits a plaintiff from bringing both a claim under Title III

   and a claim “under the common law or any provision of law other than” Title III. But here,

   Plaintiff alleges causes of action under both Title III (its trafficking counts) and the common law

   (its conspiracy count). Compl. ¶¶ 189–245 (alleging one cause of action under Title III against

   each of three Defendant groups and a fourth cause of action against all Defendants for common-

   law conspiracy). This is impermissible. BedRoc Ltd., LLC v. United States, 541 U.S. 176, 183

   (2004) (noting that statutory interpretation begins with the text and “ends there as well if the text

   is unambiguous”).

           In analogous contexts, courts in the Eleventh Circuit have strictly enforced similar

   election of remedies provisions. For instance, the Northern District of Alabama has routinely

   dismissed actions in which a plaintiff advances causes of action under both the Alabama Age

   Discrimination in Employment Act (the “AADEA”) and the federal Age Discrimination in

   Employment Act (the “ADEA”). Forsyth v. NHC Place/Anniston, LLC, Inc., No. 18-CV-00663,

   2018 WL 4909953, at *2 (N.D. Ala. Oct. 10, 2018) (dismissing duplicative state law claim,

   collecting cases, and holding that “[t]he statute intends to create an alternative remedy, not

   merely to avoid redundant adjudications . . . The entirety of the statute persuades this court to

   interpret § 25-1-29 [the AADEA] to mean that plaintiffs must ‘elect to pursue their remedies

   under [the ADEA] or in the alternative’ bring a state law claim under the AADEA”) (emphasis

   in original).19

   19
          See also Henry v. Jefferson Cnty. Personnel Bd., 519 F. Supp. 2d 1171, 1185–86 (N.D.
   Ala. 2007) (holding that “the plain language of the Alabama Age Act forces a plaintiff
   choose either suit under the ADEA or, in the alternative, suit under the Alabama Age Act”)
   (emphasis in original); Howard v. Highlands Med. Ctr., No. 15-CV-00393-CLS, 2015 WL
   4730079, at **3–4 (N.D. Ala. Aug 10, 2015) (same); King v. Adtran, Inc., No. 13-CV-1362-
   CLS, 2014 WL 6983312, at *6 (N.D. Ala. Dec. 10, 2014) (same); Collins v. Compass Grp., Inc.,
   965 F. Supp. 2d 1321, 1330–31 (N.D. Ala. 2013) (same).

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          Here, Plaintiff’s counts are overlapping and precisely the kind of double-pleading that the

   Act prohibits.20 Plaintiff has asserted a cause of action (1) against each Defendant for trafficking

   in Plaintiff’s property in violation of the Act, and (2) against all Defendants for allegedly

   conspiring to do so. Compl. ¶¶ 237–45. For the latter, Plaintiff alleges no fact that is unique to

   that count, and in fact incorporates all prior allegations concerning each other count brought

   under the Act. Id. ¶ 237. The viability of this claim is thus inherently dependent on whether

   Defendants’ alleged conduct does in fact constitute “trafficking” under the Act. And this claim

   is not only premised on the same factual allegations asserted in the other counts – it also seeks

   precisely the same relief: damages under the Act “in the amount of the certified claim, plus

   applicable pre-judgment interest.” Id. ¶ 245; see also id. ¶¶ 206, 220, 236 (seeking same

   damages in each count under the Act).

          Plaintiff’s Complaint thus violates the express provisions of the Act and, therefore,

   should be dismissed.

                                            CONCLUSION

          For the foregoing reasons, the Court should enter an Order granting this Motion and

   dismissing the Complaint with prejudice.



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           In similar fashion, courts in this District routinely dismiss causes of action where the
   relief sought in one cause of action is duplicative of others and the requirements for proving
   those claims overlap. E.g., AquaDry Plus Corp. v. Rockhill Ins. Co., No. 19-CV-62331-CIV,
   2020 WL 927440, at *3 (S.D. Fla. Feb. 26, 2020) (dismissing claim for declaratory relief claim
   where plaintiff also asserted a breach of contract claim, the determination of which would “allow
   [plaintiff] to secure complete relief.”); A&M Mgmt. Inc. v. Deme, No. 18-CV-63099, 2019 WL
   7344821, at *5 (S.D. Fla. May 14, 2019) (citations omitted) (dismissing claims for “unjust
   enrichment” and “money had and received” as duplicative and observing that “[d]uplicative
   claims are those that stem from identical allegations, that are decided under identical legal
   standards, and for which identical relief is available”); Miller v. Gizmodo Media Grp., LLC, No.
   18-24227-CIV, 2019 WL 1790248, at *12 (S.D. Fla. Apr. 24, 2019), reconsideration
   denied, 2019 WL 5864176 (S.D. Fla. June 5, 2019) (citations omitted) (dismissing civil
   conspiracy count because it “is premised on the same allegations and the same torts asserted
   elsewhere in the complaint”) (citations omitted).
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          Dated: August 31, 2020.

                                       Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 31, 2020, the foregoing was filed with the Clerk of Court

   using CM/ECF, which will serve a Notice of Electronic Filing on all counsel of record.


                                               By: /s/ Allen P. Pegg



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